                                   Case 24-20622-CLC
 Fill in this information to identify the case:
                                                                      Doc      Filed 04/03/25     Page 1 of 2
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1              Eulia Gonzalez
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________
                                         Southern District of of
                                                     District    __________
                                                              Florida

 Case number            24-20622-CLC
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                         12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.
 Name of creditor: __ WILMINGTON TRUST, NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY, BUT SOLELY AS
 OWNER TRUSTEE FROM BRAVO RESIDENTIAL FUNDING TRUST 2020-RPL2_____________________________________
                                                               Court claim no. (if known): 1
                                                                                           __________________

 Last 4 digits of any number you use to
 identify the debtor’s account:                            4 ____
                                                          ____ 6 ____
                                                                   1 ____
                                                                       0

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 ✔ No
 
  Yes. Date of the last notice: _____________

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

      Description                                                           Dates incurred                                Amount

  1. Late charges                                                           _________________________________       (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                        _________________________________       (2)   $ __________
  3. Attorney fees                                                          _________________________________       (3)   $ __________
  4. Filing fees and court costs                                            _________________________________       (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                         _________________________________       (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                                  _________________________________       (6)   $ __________
  7. Property inspection fees                                               _________________________________       (7)   $ __________
  8. Tax advances (non-escrow)                                              _________________________________       (8)   $ __________
  9. Insurance advances (non-escrow)                                        _________________________________       (9)   $ __________
 10. Property preservation expenses. Specify:_______________                _________________________________      (10)   $ __________
                   Attorneys Fees POC
 11. Other. Specify:____________________________________                    12/11/2024
                                                                            _________________________________      (11)         175.00
                                                                                                                          $ __________
                   Attorneys Fees plan review
 12. Other. Specify:____________________________________                    10/23/2024
                                                                            _________________________________      (12)         175.00
                                                                                                                          $ __________
                   Attorneys Fee object confirmation
 13. Other. Specify:____________________________________                    10/29/2024
                                                                            _________________________________      (13)         175.00
                                                                                                                          $ __________
                   A
 14. Other. Specify:____________________________________                    _________________________________      (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                       page 1
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Debtor 1         Eulia Gonzalez
             _______________________________________________________                                           24-20622-CLC
                                                                                           Case number (if known) _____________________________________
             First Name        Middle Name              Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
  ✔ I am the creditor.
   I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



                 __________________________________________________
                  Signature
                                                                                           Date    04/03/2025
                                                                                                   ___________________




 Print:            Carla                           Umana-Espertin
                  _________________________________________________________                Title   Assistant Secretary
                                                                                                   ___________________________
                  First Name                      Middle Name       Last Name



 Company           Nationstar Mortgage LLC
                  _________________________________________________________



 Address           P.O BOX 619096
                  _________________________________________________________
                  Number                 Street
                   DALLAS                          TX      75261
                  ___________________________________________________
                  City                                              State       ZIP Code




 Contact phone     877-888-4623
                  _______________________                                                  Email ____________________




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                               page 2

     Print                            Save As...                    Add Attachment                                                       Reset
